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                        IN THE UNITED STATES DISTRICT COURT
                            FOR THE DISTRICT OF COLUMBIA


DJB HOLDINGS LLC
                Plaintiff,

       v.
DARWIN NATIONAL ASSURANCE                            Civil Action No. 1:17-cv-00613(CKK)
COMPANY,


                Defendant.


                                 JOINT DISCOVERY PLAN

       Pursuant to the Court’s Orders dated June 14, 2017 (ECF No. 9), and June 26, 2017 (ECF

No. 13), Plaintiff DJB Holdings LLC (“DJB”) and Defendant Darwin National Assurance

Company (now known as Allied World Specialty Assurance Company) (“Allied World”), by and

through undersigned counsel, hereby submit the following Joint Discovery Plan.

       1.       Exchange of Written Discovery, Documents, and Other Materials.

       Plaintiff DJB served its first set of document requests and interrogatories upon Allied

World on May 25, 2007. Per the parties’ agreement, on June 30, 2017, Allied World served its

initial responses to those document requests and interrogatories.

       Defendant Allied World served its first set of document requests upon DJB on May 23,

2017. However, due to limitations on the number of requests contained in the Court’s June 14,

2017 Order, Allied World withdrew those requests and served a second set of requests on June

15, 2017.

       The parties will serve further written discovery, to the extent they deem appropriate, in

accordance with the governing rules of procedure and the orders of the Court.
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       2.       Depositions

       The parties’ Rule 26 disclosures were recently exchanged and identified a total of

nineteen (19) individuals with potentially discoverable information. The parties have begun the

process of identifying which of those individuals they wish to depose and seeking available dates

from the witnesses on which to do so. The parties will complete depositions in accordance with

the January 17, 2018 discovery cut-off stated in the Court’s June 14, 2017 Order (ECF No. 9).

       3.       Confidentiality

       The parties anticipate the production of discovery material requiring the protection of a

Confidentiality Order, and will petition the Court for appropriate protection.

       4.       Electronically Stored Information

       The parties anticipate production of some electronically stored information. The parties

will work together to agree on a protocol for the production of such information if it becomes

necessary.




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Dated: July 7, 2017                            Respectfully submitted,

 /s/ Jonathan A. Constine                       /s/ Richard D. Milone
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                                               Counsel for Plaintiff DJB Holdings LLC




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                                CERTIFICATE OF SERVICE

       I hereby certify that on July 7, 2017, a true and correct copy of the foregoing was served

on the following via electronic mail:

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       Counsel for Defendant
       Darwin National Assurance Company



Dated: July 7, 2017                                 /s/ Richard D. Milone

                                                    Counsel for Plaintiff DJB Holdings LLC




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